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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF DELAWARE

       In re: CHROMCRAFT REVINGTON INC.                                  §   Case No. 15-10482-KG
                                                                         §
                                                                         §
   Debtor(s)                                                             §

                        NOTICE OF TRUSTEE'S FINAL REPORT AND
                          APPLICATIONS FOR COMPENSATION
                           AND DEADLINE TO OBJECT (NFR)

            Pursuant to Fed. R. Bankr. P.2002(a)(6) and 2002(f)(8), please take notice that
       Alfred T. Giuliano, Trustee (DE)           , trustee of the above styled estate, has filed a
       Final Report and the trustee and the trustee's professionals have filed final fee applications,
       which are summarized in the attached Summary of Trustee's Final Report and Applications
       for Compensation.

             The complete Final Report and all applications for compensation are available for
       inspection at the Office of the Clerk, at the following address:
             824 Market Street, 3rd Floor
             Wilmington, DE 19801

             Any person wishing to object to any fee application that has not already been approved or
       to the Final Report, must file a written objection within 21 days from the mailing of this notice,
       serve a copy of the objections upon the trustee, any party whose application is being challenged
       and the United States Trustee. A hearing on the fee applications and any objection to the Final
       Report will be held at 03:30PM on 10/22/2019 in Courtroom 3, United States Courthouse,
       824 Market Street, 6th Floor
       Wilmington, DE 19801.
       If no objections are filed, upon entry of an order on the fee applications, the trustee may pay
       dividends pursuant to FRBP 3009 without further order of the Court.


      Date Mailed: 09/19/2019                    By: /s/ Alfred T. Giuliano
                                                                                  Trustee
       Alfred T. Giuliano, Trustee (DE)
       2301 E. Evesham Road
       Pavilion 800, Suite 210
       Voorhees, NJ 08043
       (856) 767-3000




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                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF DELAWARE

             In re: CHROMCRAFT REVINGTON INC.                                               §       Case No. 15-10482-KG
                                                                                            §
                                                                                            §
        Debtor(s)                                                                           §

                                  SUMMARY OF TRUSTEE'S FINAL REPORT
                                  AND APPLICATIONS FOR COMPENSATION


                    The Final Report shows receipts of                                          $       2,087,474.77

                    and approved disbursements of                                               $       1,752,166.78
                                                           1
                    leaving a balance on hand of                                                $         335,307.99

                                                         Balance on hand:                                   $              335,307.99
               Claims of secured creditors will be paid as follows:

Claim          Claimant                                       Claim Allowed Amount Interim Payments                           Proposed
No.                                                         Asserted       of Claim          to Date                          Payment
  2            Cross Gate Services, Inc                    30,552.17                    0.00                    0.00               0.00
  9            Samuel Dunnigan                              1,312.54                    0.00                    0.00               0.00
 25            AFCO                                               0.00                  0.00                    0.00               0.00
 32S           Indiana Department of                              0.00                  0.00                    0.00               0.00
               Revenue
 58S           Liberty Mutual Insurance                           0.00                  0.00                    0.00               0.00
               Group
 74            Liberty Mutual Insurance                  125,000.00                     0.00                    0.00               0.00
               Group
 90S           Indiana Department of                       65,683.55                    0.00                    0.00               0.00
               Revenue
 141           Merchant Factors Corp.                  8,033,140.55             489,345.83            470,647.70              18,698.13
 145           Tate County, Mississippi                           0.00          572,422.72            572,422.72                   0.00
 145 -2        Tate County, Mississippi                  856,406.81                     0.00                    0.00               0.00
 152S          Iron Mountain Information                    1,984.00                    0.00                    0.00               0.00
               Management, LLC
 207           Liberty Mutual Insurance                  125,000.00                     0.00                    0.00               0.00
 212           Indiana Department of                       65,683.55                    0.00                    0.00               0.00
                1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
  earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
  receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
  account of the disbursement of the additional interest.

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              Revenue
                                                  Total to be paid to secured creditors:      $           18,698.13
                                                  Remaining balance:                          $          316,609.86

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                              Total Requested Interim Payments           Proposed
                                                                                         to Date          Payment
Trustee, Fees - Alfred T. Giuliano, Trustee                           85,874.24                   0.00      83,674.52
Trustee, Expenses - Alfred T. Giuliano, Trustee                          720.75                   0.00         720.75
Attorney for Trustee, Fees - Dellinger & Dellinger Law                 4,727.68             4,727.68             0.00
Office
Attorney for Trustee, Expenses - Dellinger & Dellinger                 2,516.04             2,516.04             0.00
Law Office
Accountant for Trustee, Fees - Giuliano, Miller & Co.,               136,340.00            75,000.00        48,931.67
LLC
Accountant for Trustee, Expenses - Giuliano, Miller & Co.,             1,008.80                   0.00       1,008.80
LLC
Other Fees: Hilco Real Estate, LLC                                    81,731.93            81,731.93             0.00
Other Expenses: Cost of Sale                                           5,438.50             5,438.50             0.00
Attorney for Trustee Fees - Pachulski Stang Ziehl & Jones            213,617.00            75,000.00       110,576.49
LLP
Attorney for Trustee Expenses - Pachulski Stang Ziehl &               21,697.63                   0.00      21,697.63
Jones LLP
Other Expenses: Cost of Sale - Taxes                                 415,911.37        415,911.37                0.00
Other Expenses: Hilco Real Estate, LLC                                 7,401.00             7,401.00             0.00
Other Expenses: Hill Archive                                           9,163.70             9,163.70             0.00
Other Expenses: Internal Revenue Servics                                   50.00              50.00              0.00
Other Expenses: International Sureties, Ltd                              880.15              880.15              0.00
Other Expenses: Iron Mountain                                          5,000.00             5,000.00             0.00
Other Expenses: Mississippi Department of Revenue                           0.00                  0.00           0.00
                            Total to be paid for chapter 7 administration expenses:           $          266,609.86
                            Remaining balance:                                                $           50,000.00




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               Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                             Total Requested Interim Payments        Proposed
                                                                                       to Date       Payment
Attorney for Trustee/D-I-P Fees - Lowenstein Sandler LLP            97,488.08                 0.00     18,781.23
Attorney for Trustee/D-I-P Expenses - Lowenstein Sandler                 0.00                 0.00             0.00
LLP
Accountant for Trustee/D-I-P Fees - EisnerAmpter, LLP               10,260.00                 0.00      1,976.62
Accountant for Trustee/D-I-P Expenses - EisnerAmpter,                  322.00                 0.00            62.03
LLP
Other Fees: Goldstein & McClintock LLLP                             42,278.37                 0.00      8,144.99
Other Expenses: Goldstein & McClintock LLLP                              0.00                 0.00             0.00
Attorney for Trustee/D-I-P Fees - White & Williams, LLP             56,419.50                 0.00     10,869.31
Attorney for Trustee/D-I-P Expenses - White & Williams,              4,229.22                 0.00           814.77
LLP
Other Fees: Krieg DeVault, LLP                                       6,630.75                 0.00      1,277.42
Other Fees: Kurtzman Carson Consultants LLC                         38,575.49                 0.00      7,431.63
Other Fees: Sockol Consulting Group, Inc.                                0.00                 0.00             0.00
Other Expenses: Mississippi Department of Environmental                  0.00                 0.00             0.00
Quality
Other Expenses: Mississippi Department of Revenue                        0.00                 0.00             0.00
Other Expenses: Sockol Consulting Group, Inc.                            0.00                 0.00             0.00
Other Expenses: Wisconsin Department of Revenue                      3,332.43                 0.00           642.00
                            Total to be paid for prior chapter administrative expenses:   $          50,000.00
                            Remaining balance:                                            $               0.00

             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $1,267,228.60 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim         Claimant                                      Allowed Amount Interim Payments           Proposed
No                                                                 of Claim          to Date          Payment
              EFTPS                                                  1,160.75                 0.00             0.00
              EFTPS                                                    271.47                 0.00             0.00
              EFTPS                                                    794.82                 0.00             0.00
   1P         Mississippi Department of Revenue                          0.00                 0.00             0.00
   9          Samuel Dunnigan                                        1,312.54                 0.00             0.00




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15          Internal Revenue Service                                1,000.00                  0.00     0.00
21P         William Raymond Becker                                12,475.00                   0.00     0.00
28P         Missouri Department of Revenue                            656.70                  0.00     0.00
32P         Indiana Department of Revenue                               0.00                  0.00     0.00
33P         State of Michigan-CD                                      158.27                  0.00     0.00
34P         Tippecanoe County Treasurer                                 0.00                  0.00     0.00
36P         Carroll County Treasurer                                    0.00                  0.00     0.00
37          Florida Department of Revenue                         15,647.15                   0.00     0.00
38P         Indiana Department of Revenue                               0.00                  0.00     0.00
42P         Mississippi Department of Revenue                     45,089.52                   0.00     0.00
59          Commonwealth of Virginia                                  487.50                  0.00     0.00
65P         Mississippi Department of Revenue                           0.00                  0.00     0.00
80P         Wisconsin Department of Revenue                         1,500.74                  0.00     0.00
83          Donna Vessels                                             897.00                  0.00     0.00
90P         Indiana Department of Revenue                               0.00                  0.00     0.00
115P        Richard L. Sinclair                                         0.00                  0.00     0.00
140 -2      Mississippi Department of Revenue                           0.00                  0.00     0.00
145         Tate County, Mississippi                                    0.00                  0.00     0.00
145 -2      Tate County, Mississippi                             856,406.81                   0.00     0.00
148         Cynthia C. Brown                                        2,561.52                  0.00     0.00
149         Virginia Carol Saunders                                 2,788.45                  0.00     0.00
198         Texas Comptroller of Public Accounts                    6,227.78                  0.00     0.00
203P        California Franchise Tax Board                          2,467.62                  0.00     0.00
212         Indiana Department of Revenue                        312,928.29                   0.00     0.00
213         Mississippi Department of Revenue                       2,396.67                  0.00     0.00
                                              Total to be paid for priority claims:       $          0.00
                                              Remaining balance:                          $          0.00
            The actual distribution to wage claimants included above, if any, will be the proposed
      payment less applicable withholding taxes (which will be remitted to the appropriate taxing
      authorities).




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            Timely claims of general (unsecured) creditors totaling $ 12,501,069.05 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
               EFTPS                                                   4,256.11               0.00                0.00
               EFTPS                                                     840.00               0.00                0.00
               EFTPS                                                   9,437.95               0.00                0.00
  3            Northern Indiana Public Service Company                32,415.22               0.00                0.00
  4            Unisource Worldwide                                    14,867.14               0.00                0.00
  5            Averitt Express, Inc                                    1,468.06               0.00                0.00
  6            Confortaire, Inc.                                      80,558.62               0.00                0.00
  7            Wollsdorf Leather LTD.                                  7,375.14               0.00                0.00
  8            Santie Wholesale Oil Company                            1,336.77               0.00                0.00
 10            American Decorative Fabrics, LLC                          999.26               0.00                0.00
 11            Orient Overseas Container Line Limited                 33,097.40               0.00                0.00
               (OOCL)
 12            Can-Do National Tape                                    3,613.04               0.00                0.00
 13            Alabama Wire, Inc                                         355.98               0.00                0.00
 14            Excel TSD of Tennessee, LLC                             3,720.15               0.00                0.00
 16            Contract Furniture Group, LLC                           5,516.84               0.00                0.00
 17            L&P Financial Services Co.                             42,143.27               0.00                0.00
 18            Old Dominion Freight Line, Inc.                        20,138.91               0.00                0.00
 19            Parker Brothers Textile Mills Limited                     834.69               0.00                0.00
 20            MCPU Polymer Eng, LLC                                   3,767.08               0.00                0.00
 21U           William Raymond Becker                                 23,525.00               0.00                0.00
 22            United Parcel Service                                  40,334.76               0.00                0.00
 23            Office Coordinators, Inc.                               8,264.37               0.00                0.00
 24            Office Coordinators, Inc.                                   0.00               0.00                0.00
 26            FedEx TechConnect, Inc.                                 2,384.73               0.00                0.00
 27            Magic Steel Sales, LLC                                 17,310.40               0.00                0.00
 29            Old Dominion Freight Line, Inc.                      148,290.13                0.00                0.00




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30      AAA Cooper Transportation                        40,793.97          0.00      0.00
31      Panola Paper Co., Inc.                            3,402.97          0.00      0.00
32U     Indiana Department of Revenue                         0.00          0.00      0.00
33U     State of Michigan-CD                             18,022.89          0.00      0.00
34U     Tippecanoe County Treasurer                           0.00          0.00      0.00
35      Wisconsin Department of Revenue                   1,098.23          0.00      0.00
36U     Carroll County Treasurer                              0.00          0.00      0.00
38U     Indiana Department of Revenue                         0.00          0.00      0.00
39      W. W. Grainger, Inc.                                  0.00          0.00      0.00
40      Motion Industries, Inc.                            828.96           0.00      0.00
41      GE Capital Information Technology                 5,127.81          0.00      0.00
        Solutions, Inc.
43      Carolina Design Company, Inc.                    17,500.00          0.00      0.00
44      Great America Financial Services                 60,318.55          0.00      0.00
        Corporation
45      Nova Copy, Inc.                                  48,522.00          0.00      0.00
46      United Tube Corporation                           7,938.48          0.00      0.00
47      U. S. Department of Labor                        84,049.68          0.00      0.00
48      YRC, Inc. d/b/a YRC Freight                     236,293.77          0.00      0.00
49      United Parcel Service                             5,989.15          0.00      0.00
50      RH Management Resources                          32,780.00          0.00      0.00
51      Fleetcor Technologies                            26,934.59          0.00      0.00
52      BB&T Commercial Finance                          18,917.90          0.00      0.00
53      Entergy Mississippi, Inc.                         3,496.38          0.00      0.00
54      Wiseway Motor Freight, Inc.                      26,544.86          0.00      0.00
55      Hawkeye Industries, Inc.                          7,567.06          0.00      0.00
56      Timothy Stabosz                                       0.00          0.00      0.00
57      Timothy Stabosz                                 290,500.00          0.00      0.00
58U     Liberty Mutual Insurance Group                        0.00          0.00      0.00
60      Bois Ouvres Waterville, Inc.                     15,453.02          0.00      0.00
61      Bayer MaterialScience, LLC                       56,398.71          0.00      0.00
62      Black Rock Furniture Import                      78,547.44          0.00      0.00
63      Allen Engineering & Science, Inc.                64,594.17          0.00      0.00
64      IHFC Properties, LLC                            632,137.94          0.00      0.00




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66      Cach, LLC                                      49,492.83          0.00      0.00
67      Krieg DeVault, LLP                             45,664.87          0.00      0.00
68      Wal-Mart Stores, Inc.                           2,296.35          0.00      0.00
69      C. H. Robinson Worldwide, Inc.                      0.00          0.00      0.00
70      BellSouth Telecommunications, Inc.              6,978.25          0.00      0.00
71      AT&T Corp                                       4,309.71          0.00      0.00
72      Alabama Wire, Inc                                   0.00          0.00      0.00
72 -2   Alabama Wire, Inc                                355.98           0.00      0.00
73      Pureworks, Inc. d/b/a UL Workplace               500.00           0.00      0.00
        Health&Safety
74      Liberty Mutual Insurance Group                      0.00          0.00      0.00
75      Athens Paper Company                            5,265.80          0.00      0.00
76      Watkins Shepard Trucking Inc.                  58,363.96          0.00      0.00
77      Applied Industrial Technologies                  597.22           0.00      0.00
78      MDS Enterprises, Inc.                           2,430.30          0.00      0.00
79      E.H. Hamilton Trucking & Warehousing           37,874.38          0.00      0.00
        Service, Inc.
82      Mississippi Polymers, Inc.                      8,383.71          0.00      0.00
84      Gibraltar                                       6,181.76          0.00      0.00
85      Toof Commercial Printing                       30,840.09          0.00      0.00
87      Top Value Fabrics                                416.03           0.00      0.00
88      Sunbelt Furniture Express, Inc.                  416.56           0.00      0.00
89      Sparta WoodWorks                               14,819.57          0.00      0.00
90U     Indiana Department of Revenue                       0.00          0.00      0.00
91      Prewett Enterprises, Inc.                      17,368.00          0.00      0.00
93      Uniroyal Engineered Products, LLC               9,276.42          0.00      0.00
94      Medallion Transport Holdings                    7,975.00          0.00      0.00
95      Attorney Recovery Systems, Inc.               612,768.38          0.00      0.00
96      The Standard Companies                          2,503.50          0.00      0.00
97      WMCV Phase 1, LLC                             222,041.36          0.00      0.00
98      Billy G. Armstrong                              5,745.60          0.00      0.00
99      Herbert W. Avant                                5,317.44          0.00      0.00
100     Stanley Ayers                                   6,028.80          0.00      0.00
101     Jack Blakely                                    6,118.00          0.00      0.00




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102     Willie Bobo                               6,455.68          0.00      0.00
103     Earl Bradford                             9,203.04          0.00      0.00
104     Barbara Bush                              9,203.04          0.00      0.00
105     Donald Butler                             6,538.88          0.00      0.00
106     Sammie Caldwell                           5,086.80          0.00      0.00
107     Ronnie Carr                               5,852.00          0.00      0.00
108     Jerry Cobb                                7,596.80          0.00      0.00
109     Linda Cole                                6,791.04          0.00      0.00
110     Ralph Conley                              6,156.80          0.00      0.00
111     Donnell Cox                               4,795.20          0.00      0.00
112     James Cox                                 8,115.84          0.00      0.00
113     Matthew Crawford                          6,970.80          0.00      0.00
114     John Crenshaw                             6,344.00          0.00      0.00
115U    Richard L. Sinclair                     270,000.00          0.00      0.00
116     James Dean                                6,707.20          0.00      0.00
117     Samuel Dunnigan                           6,024.00          0.00      0.00
118     David Edwards                             4,820.80          0.00      0.00
119     Ruthie Faulkner                           5,658.00          0.00      0.00
120     Tracy Faulkner                            5,275.20          0.00      0.00
121     Sammie Frost                              5,236.00          0.00      0.00
122     Shaketha Gardner                          5,088.00          0.00      0.00
123     James Garrett                             5,088.00          0.00      0.00
124     Brian Hammond                             6,283.20          0.00      0.00
125     Anthony Harris                            5,125.52          0.00      0.00
126     Charles Harris                            6,053.60          0.00      0.00
127     Mickey Harvey                             6,857.76          0.00      0.00
128     Anthony Hawkins                           6,013.12          0.00      0.00
129     E-Box, LLC                                6,930.00          0.00      0.00
130     Lillie Blackmon Hayse                     7,539.84          0.00      0.00
131     Michael Hibler                            6,631.68          0.00      0.00
132     Arthur Hill                               5,275.20          0.00      0.00
133     Billy Johnson                             6,533.60          0.00      0.00
134     C. W. Johnson                             6,533.60          0.00      0.00




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135      Jeremy Johnson                                  4,502.40          0.00      0.00
136      Andrew Jones                                    5,384.00          0.00      0.00
137      Security Consultants, Inc.                       470.80           0.00      0.00
138      Lydia Valle                                         0.00          0.00      0.00
139      Allstate Office Interiors                       1,281.64          0.00      0.00
141      Merchant Factors Corp.                      7,543,794.72          0.00      0.00
142      Fastenal Company                                 196.42           0.00      0.00
143      AT&T Corp.                                          0.00          0.00      0.00
143 -2   AT&T Corp.                                     41,954.94          0.00      0.00
144      BellSouth Telecommunications, Inc.             32,022.03          0.00      0.00
146      Wilsonart LLC                                  11,556.68          0.00      0.00
147      Encore Poly Corporation                         3,530.00          0.00      0.00
150      American Express Travel Related Services            0.00          0.00      0.00
         Company
150 -2   American Express Travel Related Services       66,675.37          0.00      0.00
         Company
151      YRC, Inc. d/b/a YRC Freight                  315,918.88           0.00      0.00
152U     Iron Mountain Information Management,               0.00          0.00      0.00
         LLC
153      Javco, Inc                                     50,744.67          0.00      0.00
154      Michael Jones                                   5,852.00          0.00      0.00
155      Howard Lamar                                    9,092.72          0.00      0.00
156      Beverly Lark                                    5,380.80          0.00      0.00
157      John Lark                                       6,707.20          0.00      0.00
158      Stephanie Lawson                                5,261.76          0.00      0.00
159      Courtney Lee                                    4,748.80          0.00      0.00
160      William Lewers, Jr.                             8,316.80          0.00      0.00
161      Mary Lloyd                                      6,246.40          0.00      0.00
162      Albert Loveberry                                8,293.36          0.00      0.00
163      Roy Mack                                        7,042.56          0.00      0.00
164      Abron McGlothian                                4,868.00          0.00      0.00
165      Willie McIntyre                                 7,846.40          0.00      0.00
166      Eddie Miles                                     4,933.60          0.00      0.00
167      Michelle Mills                                  6,545.60          0.00      0.00




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168     Gregory Morgan                                 7,049.60          0.00      0.00
169     Anita Newson                                   6,539.52          0.00      0.00
170     Elsa Perry                                     7,200.80          0.00      0.00
171     Steven Phillips                                5,127.42          0.00      0.00
172     Otis Porter                                    4,155.20          0.00      0.00
173     Ricky Reed                                     6,600.00          0.00      0.00
174     Lucille Ross                                   6,031.80          0.00      0.00
175     Thomas Rushing                                 6,548.40          0.00      0.00
176     Carl Shaw                                      5,478.00          0.00      0.00
177     Clarence Sipp                                 14,882.40          0.00      0.00
178     Marsha Stull                                   7,808.00          0.00      0.00
179     Marvin Tate                                    7,129.60          0.00      0.00
180     Curtis Taylor                                  4,777.92          0.00      0.00
181     Larry Tucker                                   5,652.00          0.00      0.00
182     Bobby Walker                                   5,945.60          0.00      0.00
183     William Walker                                 7,180.80          0.00      0.00
184     Charlie Ward                                   7,450.08          0.00      0.00
185     Garey Watson                                   5,310.00          0.00      0.00
186     Larry Watson                                   5,070.40          0.00      0.00
187     Marius Whitehead, Sr.                          5,815.00          0.00      0.00
188     J. D. Wilbourn                                 7,180.80          0.00      0.00
189     William Wilbourn                               6,310.40          0.00      0.00
190     Jimmie Williams                                6,720.00          0.00      0.00
191     Bonnie Woods                                   5,427.20          0.00      0.00
192     Lynette Wooten                                 4,898.40          0.00      0.00
193     Ruby Wooten                                    6,841.60          0.00      0.00
194     Joyce Wren                                     6,024.00          0.00      0.00
195     Henry Wright, Jr.                              6,876.00          0.00      0.00
196     Jessie Wright, Sr.                             5,517.84          0.00      0.00
197     Teresa Young                                   5,451.36          0.00      0.00
199     Merchandise Mart, LLC                         34,385.51          0.00      0.00
200     Arnold Wood, LLC d/b/a H. A. Stiles             282.00           0.00      0.00
        Company




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 201           Krieg DeVault, LLP                                   45,664.87                 0.00               0.00
 203U          California Franchise Tax Board                              5.92               0.00               0.00
 204           Mississippi Department of Environmental                   250.00               0.00               0.00
               Quality
 207           Liberty Mutual Insurance                            110,482.00                 0.00               0.00
 211           ProTech Chemicals Ltd                                14,106.40                 0.00               0.00
                            Total to be paid for timely general unsecured claims:         $                  0.00
                            Remaining balance:                                            $                  0.00


            Tardily filed claims of general (unsecured) creditors totaling $ 63,159.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                      Allowed Amount Interim Payments            Proposed
No                                                                  of Claim          to Date           Payment
 206           Dunn & Bradstreet                                    50,943.00                 0.00               0.00
 208           Angel L. Calcano                                       4,072.00                0.00               0.00
 209           Angel L. Calcano                                       4,072.00                0.00               0.00
 210           Angel L. Calcano                                       4,072.00                0.00               0.00
                            Total to be paid for tardy general unsecured claims:          $                  0.00
                            Remaining balance:                                            $                  0.00


             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 48,019.78 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                      Allowed Amount Interim Payments            Proposed
No                                                                  of Claim          to Date           Payment
  1U           Mississippi Department of Revenue                           0.00               0.00               0.00
 28U           Missouri Department of Revenue                            142.43               0.00               0.00
 33U           State of Michigan-CD                                   6,599.25                0.00               0.00
 42U           Mississippi Department of Revenue                      9,378.10                0.00               0.00
 65U           Mississippi Department of Revenue                           0.00               0.00               0.00




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80U     Wisconsin Department of Revenue                                675.00                 0.00                 0.00
90U     Indiana Department of Revenue                                     0.00                0.00                 0.00
203U    California Franchise Tax Board                                 200.00                 0.00                 0.00
204     Mississippi Department of Environmental                          25.00                0.00                 0.00
        Quality
212     Indiana Department of Revenue                               31,000.00                 0.00                 0.00
                                              Total to be paid for subordinated claims: $                        0.00
                                              Remaining balance:                        $                        0.00




                                          Prepared By: /s/Alfred T. Giuliano, Trustee (DE)
                                                                                Trustee

       Alfred T. Giuliano, Trustee (DE)
       2301 E. Evesham Road
       Pavilion 800, Suite 210
       Voorhees, NJ 08043
       (856) 767-3000


       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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